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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                            SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )
      vs.                                 )       Case No. 1:08CR110 RWS
                                          )
TIMOTHY JOHNSON,                          )
                                          )
            Defendant.                    )

                                      ORDER

      This matter is before the Court on Defendant Timmy Nathan Johnson’s

Motion to Suppress Statements, Tangible Evidence and the Contents of Any

Electronic Surveillance [Document #36].

      Pursuant to 28 U.S.C. § 636(b), the motions were referred to United States

Magistrate Judge Lewis M. Blanton. The government filed a written response in

opposition to the motion of the defendant. Judge Blanton conducted an

evidentiary hearing on November 25, 2008. The parties filed supplemental briefs

after the hearing.

      On January 22, 2009, Judge Blanton filed his Report and Recommendations

that the defendant’s motion be denied. The defendant filed general objections to

the Report and Recommendation on January 30, 2009.

      I have conducted a de novo review the transcripts, the videotape and the
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parties briefs. After fully considering the motions and the Report and

Recommendations, I will adopt and sustain the thorough reasoning of Judge

Blanton set forth in support of his recommendation. Specifically, I find that the

officers were invited into Mr. Johnson’s home on June 27, 2008. It was also

established that Mr. Johnson was not in custody during the search and questioning,

and, consequently no Miranda warnings were required. Because the defendant

voluntarily consented to the search, the evidence seized from the home, the shed

and the defendant’s vehicle were properly seized. As a result, the evidence should

not be suppressed and is admissible at trial. Additionally, the statements made by

defendant were voluntary, should not be suppressed and are admissible.

Similarly, the defendant’s statements during the interview at the Dunklin County

Justice Center on June 30, 2008 were voluntary and may be introduced into

evidence.

      Finally, the information obtained by Administrative Subpoenas, as well as

the trap and trace pen registers met the requirements of law and are admissible.

      Accordingly,

      IT IS HEREBY ORDERED that the Report and Recommendation of

United States Magistrate Judge Lewis M. Blanton [#203] is SUSTAINED,

ADOPTED, and INCORPORATED herein.

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      IT IS FURTHER ORDERED that defendant Timmy Nathan Johnson’s

Motion to Suppress Statements, Tangible Evidence and the Contents of Any

Electronic Surveillance [Doc. #36] is denied.




                                        ______________________________
                                        RODNEY W. SIPPEL
                                        UNITED STATES DISTRICT JUDGE


Dated this 11th day of February, 2009.




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